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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS

 LABORATORIOS PISA S.A. de C.V; AND
 CAB ENTERPRISES, INC.,
                                                    Civ. Action No.: 7:21-CV-0062
                       Plaintiffs,

         vs.
                                                    (JURY DEMAND)
 PEPSICO, Inc.; AND
 STOKELY-VAN CAMP, INC.,


                       Defendants.




    [PROPOSED] ORDER GRANTING EMERGENCY HEARING ON PLAINTIFFS’
          MOTION FOR A TEMPORARY RESTRAINING ORDER AND
                      PRELIMINARY INJUNCTION


        Upon review of the Complaint of Plaintiffs Laboratorios Pisa S.A. de C.V (“Pisa”) and

CAB Enterprises, Inc. (“CAB”) (collectively “Plaintiffs”), the memorandum of law submitted in

support of this Order, and the accompanying declarations and exhibits, and for good cause shown,

it is hereby:

        ORDERED that an Emergency Hearing on Plaintiffs’ Motion for a Temporary Restraining

Order and Preliminary Injunction will be held on February 19, 2021 at __ o’clock _.m. via

videoconference.

Issued: February __, 2021 at __o’ clock __.m.        _______________________________

                                                     UNITED STATES DISTRICT JUDGE




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